           Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 1 of 7




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

JAMES LAWSON,

      Plaintiff,
                                              CASE NO: 5:19-CV-904
vs.

MARIO’S OF NYC, LLC
     Defendant.
__________________________________/

                                  COMPLAINT

      Plaintiff, James Lawson (“Plaintiff”) by and through the undersigned

counsel, hereby files this Complaint and sues MARIO’S OF NYC, LLC for

injunctive relief, attorney’s fees and costs pursuant to 42 U.S.C. §12181 et seq.,

(“Americans with Disabilities Act” or “ADA”) and allege:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.     Venue is proper in this Court, the Western District of Texas pursuant

to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court for the


                                          1
           Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 2 of 7




Western District of Texas.

      3.     Plaintiff, James Lawson (hereinafter referred to as “LAWSON or

Plaintiff"), is a resident of the State of Texas and is a qualified individual with a

disability under the ADA. LAWSON suffers from what constitutes a "qualified

disability" under the Americans with Disabilities Act of 1990, ("ADA") and all

other applicable Federal statutes and regulations to the extent that he has multiple

sclerosis and requires the use of a wheelchair for mobility and has limited use of

his upper extremities. Prior to instituting the instant action, LAWSON visited the

Defendant’s premises at issue in this matter on June 6, 2019, and was denied full,

safe and equal access to the subject property of Defendant due to its lack of

compliance with the ADA. LAWSON continues to desire and intends to visit the

Defendant’s premises but continues to be denied full, safe and equal access due to

the barriers to access that continue to exist.

      4.     The Defendant, MARIO’S OF NYC, LLC, is a company registered to

do business and, in fact, conducting business in the State of Texas.           Upon

information and belief, MARIO’S OF NYC, LLC(hereinafter referred to as

“MARIO’S”) is the owner, lessee and/or operator of the real property and

improvements that is the subject of this action, specifically the Mario’s of New

York Pizza restaurant, located at 26610 US Hwy 281 N., in San Antonio, Texas


                                            2
            Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 3 of 7




(hereinafter referred to as the “Restaurant”).

      5.      All events giving rise to this lawsuit occurred in the Western District

of Texas.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, MARIO’S is

a place of public accommodation in that it is a Restaurant operated by a private

entity that provides goods and services to the public.

      8.      MARIO’S has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Restaurant in derogation of 42 U.S.C §12101 et seq.

      9.      Plaintiff has been unable to and continues to be unable to enjoy access

to, and the benefits of the services offered at the Restaurant. Prior to the filing of

this lawsuit, Plaintiff visited the Restaurant at issue in this lawsuit and was denied


                                          3
            Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 4 of 7




access to the benefits, accommodations and services of the Defendant’s premises

and therefore suffered an injury in fact, as a result of the barriers to access listed in

Paragraph 11, below that he personally encountered.              In addition, Plaintiff

continues to desire and intends to visit the Restaurant, but continues to be injured

in that he is unable to and continues to be discriminated against due to the barriers

to access which remain at the Restaurant in violation of the ADA. Plaintiff has

now and continues to have reasonable grounds for believing that he has been and

will be discriminated against because of the Defendant’s continuing deliberate and

knowing violations of the ADA.

      10.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,

the Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.      MARIO’S is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R.

§36.302 et seq. and is discriminating against the Plaintiff as a result of inter alia,

the following specific violations:

              i.   There is no accessible or van accessible parking provided as

                   necessary for wheelchair users to access the restaurant;

             ii.   The entry porch is accessed by steps only with no accessible means

                   of entry for a wheelchair user;


                                            4
            Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 5 of 7




            iii.   The outdoor dining area is accessed by steps only with no

                   accessible means of entry for a wheelchair user and has a gravel

                   floor surface that is not firm or slip resistant;

            iv.    The dining area at the entry porch has a table that lacks knee and

                   toe clearance for a wheelchair user;

             v.    Restroom: The accessible route to the restroom is too narrow for a

                   wheelchair user. The restroom entry door has knob type hardware

                   that requires tight grasping, pinching and/or twisting of the wrist to

                   operate;

            vi.    The restroom entry door is too narrow for a wheelchair user;

            vii.   There is insufficient maneuvering space for a wheelchair user

                   within the toilet room, on the pull side of the entry door, at the

                   water closet or at the lavatory;

        viii.      There are no grab bars at the water closet.

      12.      There are other current barriers to access and violations of the ADA at

the Restaurant owned and operated by MARIO’S that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture

pursuant to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is

performed by Plaintiff or Plaintiff’s representatives can all said violations be


                                              5
            Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 6 of 7




identified.

      13.     To date, the barriers to access and other violations of the ADA still

exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA.

      14.     Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R.

§§36.304 and 36.401, MARIO’S required to make its Restaurant, a place of public

accommodation, accessible to persons with disabilities by January 28, 1992. To

date, MARIO’S has failed to comply with this mandate.

      15.     Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have his reasonable attorney’s

fees, costs and expenses paid by MARIO’S pursuant to 42 U.S.C. §12205.

      16.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

to grant Plaintiff injunctive relief, including an Order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against MARIO’S and

requests the following injunctive and declaratory relief:

              A.    That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

                                           6
        Case 5:19-cv-00904-FB Document 1 Filed 07/29/19 Page 7 of 7




           B.     That the Court enter an Order directing Defendant to alter its
                  facilities to make them accessible to and useable by individuals
                  with disabilities to the full extent required by Title III of the
                  ADA;

           C.     That the Court enter an Order directing Defendant to evaluate
                  and neutralize its policies and procedures towards persons with
                  disabilities for such reasonable time so as to allow them to
                  undertake and complete corrective procedures;

           D.     That the Court award reasonable attorney’s fees, costs
                  (including expert fees) and other expenses of suit, to the
                  Plaintiff; and

           E.     That the Court award such other and further relief as it deems
                  necessary, just and proper.

     Dated this 29th day of July, 2019.

                                     Respectfully submitted,

                                     By: /s/ Edward I. Zwilling
                                     Edward I. Zwilling, Esq.
                                     Alabama State Bar No.: ASB-1564-L54E

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                                          7
